              Case 2:11-cr-00514-TLN Document 240 Filed 04/02/15 Page 1 of 2



 1
     Edward W. Swanson, SBN 159859
 2   eswanson@swansonmcnamara.com
     SWANSON & McNAMARA LLP
 3   300 Montgomery Street, Suite 1100
     San Francisco, California 94104
 4
     Telephone: (415) 477-3800
 5   Facsimile: (415) 477-9010

 6   Attorney for Defendant ANTON TKACHEV

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 8
 9                                 UNITED STATES DISTRICT COURT

10                                EASTERN DISTRICT OF CALIFORNIA

11                                     SACRAMENTO DIVISION

12    UNITED STATES OF AMERICA,                         Case No. CR 11-00514-TLN (EFB)
13
                     Plaintiff,
14           v.                                         STIPULATION AND [PROPOSED]
                                                        ORDER TO MODIFY CONDITIONS OF
15    AHMED CHARTAEV, et al.,                           RELEASE
16
                     Defendants.
17
18
            Defendant Anton Tkachev, by and through his counsel, Edward. W. Swanson, and the
19
     United States of America, by and through its counsel, Assistant United States Attorney Heiko
20
     Coppola, hereby submit this stipulated request to modify Mr. Tkachev’s conditions of release.
21
22   The parties agree and stipulate that the conditions of Mr. Tkachev’s pre-trial release shall be

23   modified as follows:

24
        Mr. Tkachev’s curfew shall be from 11:00 p.m. to 7:00 a.m. to provide Mr. Tkachev with
25
26      necessary flexibility for his employment. In all other respects, the conditions of Mr.

27      Tkachev’s pretrial release shall remain the same, as set forth in the Second Amended
28      Conditions of Release, attached hereto as Exhibit A.
             Case 2:11-cr-00514-TLN Document 240 Filed 04/02/15 Page 2 of 2


           Pretrial Services Officer Renee Basurto has no objection to the proposed modification.
 1
 2         IT IS SO STIPULATED.

 3
 4
     DATED: March 31, 2015.                                    _______/s/_____________________
 5                                                             Heiko Coppola
                                                               Assistant United States Attorney
 6
 7
 8   DATED: March 31, 2015.                                    _______/s/_____________________
                                                               Edward W. Swanson
 9                                                             SWANSON & McNAMARA LLP
10                                                             Attorneys for ANTON TKACHEV

11
12         PURSUANT TO STIPULATION, IT IS SO ORDERED.

13
     DATED: April 1, 2015.
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            STIPULATION AND [PROPOSED] ORDER TO MODIFY CONDITIONS OF RELEASE
                      United States v. Chartaev, et al. (No. CR 11-00514-TLN (EFB)))
